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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

NICOLE L. HANTZ,                     )
f/k/a NICOLE OLDHAM,                 )
                                     )
      Plaintiff,                     )
                                     )
      v.                             )     C.A. No. 21-801-RGA
                                     )
DIVISION OF STATE POLICE,            )
DEPARTMENT OF SAFETY &               )
HOMELAND SECURITY,                   )
STATE OF DELAWARE,                   )
                                     )
              Defendant.             )


                   DEFENDANT’S OPENING BRIEF IN SUPPORT OF ITS
                        MOTION FOR SUMMARY JUDGMENT




Dated: November 1, 2023                    STATE OF DELAWARE
                                           DEPARTMENT OF JUSTICE

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                         NATURE AND STAGE OF PROCEEDINGS

       Plaintiff initiated this matter on June 1, 2021 and filed an Amended Complaint (the

“Complaint”) on July 14, 2021.         Plaintiff asserts claims of discrimination, hostile work

environment and retaliation based on gender under Title VII of the Civil Rights Act of 1964 (“Title

VII”),1 and the Delaware Discrimination in Employment Act (“DDEA”) against the Division of

State Police (“DSP” or the “Division”). DSP moved to dismiss the Complaint on August 30, 2021,

which Plaintiff opposed on September 13, 2021, and the Court denied on May 13, 2022. DSP filed

an Answer on June 24, 2022. The parties completed fact discovery on September 27, 2023. This

is DSP’s Opening Brief in Support of its Motion for Summary Judgment.

                              SUMMARY OF THE ARGUMENT

       1.      Plaintiff’s Title VII claim for hostile work environment fails as a matter of law.

Plaintiff’s claim is also time-barred as Plaintiff cannot aggregate her allegations under a continuous

violation theory. Furthermore, DSP is entitled to the Faragher/Ellerth defense and laches defense.

       2.      Plaintiff’s claims for discrimination fail as a matter of law.

       3.      Plaintiff’s claims for retaliation fail as a matter of law.

       4.      Plaintiff’s state law claims for violations of the DDEA are barred because Plaintiff

sought relief in federal court under Title VII and fails for the same reasons as under Title VII.

                                   STATEMENT OF FACTS2

    A. Plaintiff’s Employment with the Division

       Plaintiff began her employment with DSP on July 26, 2002, when she was hired as a

Recruit. A0014. On April 20, 2003, after Plaintiff successfully completed her training, she was



1
 42 U.S.C. §§ 2000e et seq.
2
  For purposes of this Motion, all facts herein are presented in the light most favorable to the
Plaintiff.
                                                  1
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promoted to Trooper and was assigned to Troop 7 in Lewes, DE. Id. Next, Plaintiff was promoted

to Trooper First Class, and then to Corporal. Id. On May 25, 2007, Plaintiff applied and was

accepted into the Collision Reconstruction Unit (“CRU”) at Troop 7, where she was tasked with

investigating collisions. Id. On July 26, 2010, Plaintiff was promoted to Corporal Grade I, and then

to Sergeant on June 27, 2011, at which time she left CRU and worked on patrol at Troop 7. Id.

       On January 13, 2023, Plaintiff applied for and was accepted into the Governor’s Executive

Protection Unit (“EPU”). A0014. Plaintiff requested to transfer in October 2015, and was

subsequently assigned to Troop 4, in Georgetown, Delaware, on October 18, 2015. A0014. On

January 29, 2018, Colonel Nathaniel McQueen, Jr. (“Colonel McQueen”)3 announced transfers

for ten uniformed supervisors, including Plaintiff, effective March 4, 2018. A0209. Plaintiff was

assigned to Troop 5 (the “2018 Transfer”) until she was separated from her employment with DSP,

effective December 31, 2018. A0014.

       Plaintiff’s performance was reviewed annually, and each year, she always received

“Consistently Meets Expectations,” “Consistently Exceeds Expectations” and “Consistently and

Substantially Exceeds Expectations” on all her performance reviews. 4 A0063, A0073, A0082,

A0015–24; A0028–84; A0095–119; A0121–26; A0128–51; A0195–208. She likewise received

many accolades throughout her career, including the 2006 Mothers Against Drunk Driving Award,

the 2006 Lifesaving Award, a Commendation Letter from the Superintendent in 2009, and various

letters of thanks from Delaware civilians. See D.I. 5 ¶ 21.

    B. Plaintiff’s Difficulties in the Workplace

       Plaintiff complains that she was subjected to a “continuing pattern of harassment” due to


3
  Colonel McQueen currently serves as the Secretary of the Delaware Department of Safety &
Homeland Security, State of Delaware.
4
  Plaintiff received only one written reprimand during her tenure with the Division. A0172–76.

                                                 2
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her sex throughout her tenure with the Division. D.I. 5 ¶ 32. Plaintiff maintains that, from 2002–

2016, the following incidents occurred:

    •   Smyk Allegations – In January 2004, while she was assigned to Troop 7, Master Corporal
        Steve Smyk (“MCpl. Smyk”) email troopers Plaintiff did not know or work with warning
        them of the “FEMALE” with poor officer safety. A0362; A0025–26. On an unknown date,
        MCpl. Smyk told Plaintiff she “looked good” in her Class-A uniform and that “boots and
        britches” were made for a woman. A0664 at 134–35. MCpl. Smyk talked about troopers’
        sexual relationships, both male and female. A0664 at 136–37.

    •   Dean Allegations – In 2002–2008, while assigned to Troop 7, Sergeant Barry Dean (“Sgt.
        Dean”) referred to Plaintiff’s husband as “gay” and a “faggot.” A0674 at 177. From 2007–
        2011, while assigned to CRU, Sgt. Dean instructed Plaintiff to handle certain prosecution
        cases because as her supervisor, he outranked her. A0677 at 187:21–192:6

    •   Rossi Allegations – In August 2013, when accompanying the governor to a conference as
        part of the EPU, Master Corporal Jim Rossi (“MCpl Rossi”) touched her leg while driving,
        let himself into her hotel room without her knowledge, and stole a pair of her underwear
        A0682–87.

    •   Miscellaneous Allegations – From 2003–2013, unidentified individuals vandalized her
        patrol vehicle, mailbox, and campaign hat, and placed a picture with a sexual innuendo in
        her mailbox. A0364. DSP prohibited Plaintiff from teaching Krav Maga. A0726 at 383.5
        DSP employees spread rumors about her sexual proclivities. A0694–A0695; A0728.6
        Plaintiff, like other sergeants, including males, did not have enough staffing on her patrol
        shift while at Troop 4 in 2015–2016. A0127; A0471; A0913; A0946.

        Plaintiff further maintains that from August–October 2017, Lieutenant John McColgan

(“Lt. McColgan”) sent her “ignorant emails” regarding issues with reports and warrant attempts.

See A0164–71. Other sergeants, including males, also complained of Lt. McColgan’s emails, and

the issue was discussed at a sergeants’ meeting on October 26, 2017. A0701–09. The next day,

Plaintiff spoke with Lt. McColgan about warrant attempts and at some point, accused Lt.

McColgan of treating her differently because of his brother. A0702; A1022–23. Lt. McColgan,



5
 Krav Maga, however, is not an approved Division training. A0859 at 322–33.
6
 None of the rumors, however, kept Plaintiff from performing her duties at work, and at times,
she thought the rumors were “quite absurd” to the point where others knew they weren’t true.
A0728.

                                                 3
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not knowing what Plaintiff was talking about, asked Plaintiff to leave his office. A1026. When she

did not comply, he pushed her out of the way,7 making contact with her breast. A0732.

       Captain Layfield was notified and spoke with Plaintiff separately and again with Lt.

McColgan and Lieutenant Mentino DiSilvestro (“Lt. DiSilvestro”), who was Plaintiff’s supervisor

and was in the office next to Lt. McColgan’s during the conversation at issue. A0385–86; A0706–

09. Plaintiff claims that when Lt. McColgan sat down, he grabbed his crotch, spread his legs, and

then leaned back in his chair, put his arms behind his head, and told Plaintiff that if she felt “he

was coming to work to try to attack [her], don’t flatter [yourself].” A0708–09. After this, at

Captain Layfield’s direction, Lt. McColgan no longer reviewed Plaintiff’s criminal reports.

A0555. Nevertheless, Plaintiff maintains that Captain Layfield did not properly respond to her

complaints.

       The Division’s Harassment & Anti-Harassment Policy (the “Harassment Policy”) requires

employees to directly report any complaints of harassment to the Internal Affairs/Office of

Professional Responsibility (“IA/OPR”) or to Rhonda Davis, the Division’s Equal Employment

Opportunity/Affirmative Action representative within Human Resources (“HR”), if the employee

is unable to resolve the problem with the alleged harasser. A0010; A0085; A1094–95. Plaintiff

acknowledged that she understood and agreed to abide by the procedures outlined in the

Harassment Policy every year during her annual evaluation. See e.g., A0102, A0110, A0115,

A0199, A0126, A0132, A0139, A0197. Throughout her entire tenure with DSP, Plaintiff never

reported any complaints of sexual harassment, discrimination, or hostile work environment to

anyone in IA/OPR, or to Ms. Davis. A0666–67 at 145:23–146:1; A0670; A0672; A0694.




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 For purposes of this Motion only, Defendants are not contesting the material facts alleged to
have occurred with respect to Lt. McColgan.

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    C. Plaintiff Receives Notice of Transfer and Takes Medical Leave

       On October 27, 2017, Captain Layfield contacted Major Sean Moriarty (“Major Moriarty”)

to notify him of what transpired with Plaintiff on October 26 and 27th to seek guidance on whether

DSP should address Plaintiff’s mental health, given how she reacted. A0491–98. Major Moriarty

asked for guidance from HR. A1111–13. HR informed Major Moriarty that while Plaintiff’s

behavior was concerning, it did not rise to the level of requiring a Fitness for Duty Evaluation

(“FFDE”) or mandated mental health treatment. A1113; A0187–88. Monica Holmes, an HR

Manager, contacted Plaintiff to encourage her to utilize DSP resources available and seek help

with her mental health. A0190–91; A1102.

       The Executive Staff discussed the need to resolve the intrapersonal issues Plaintiff was

having with Lt. McColgan and Captain Layfield. A1113–14. The Executive Staff determined it

was not operationally possible to transfer either Captain Layfield or Lt. McColgan given their rank

and the lack of vacancies. Id. There was, however, an upcoming Sergeant position available in

Troop 5, located in Bridgeville, Delaware. The Executive Staff believed that transferring Plaintiff

to Troop 5 would be in the best interest of the Division, would create space between Plaintiff and

the Troop 4 Administration and afford Plaintiff with an opportunity to start fresh.8 A1114.

       On February 8, 2018, Plaintiff informed Captain Layfield that she could not accept the

transfer because her brother died from an overdose within the jurisdiction of Troop 5 nearly two

years prior. A0210. The Division, however, is unable to reconfigure a transfer assignment on the

grounds that an employee’s family member died in the jurisdiction of that assignment. A1115.




8
  Under the Division’s Transfer Policy, all sworn employees are subject to reassignment at any
time, including mending intradepartmental relationships that cause an individual to not function in
good rapport with other employees. A0001–02.


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         On February 9, 2018, Plaintiff provided Captain Layfield and HR with a doctor’s note from

her primary care provider excusing her from work until further notice. A0212. Captain Layfield

attempted to share the doctor’s note with Lieutenant Colonel Monroe Hudson but instead,

inadvertently shared the note with Plaintiff, and mistakenly stated the note was from a dietician

(the “February Text Message”). A0528–29. Plaintiff remained out on medical leave for severe

anxiety and depression. A0212–18. During this time, DSP paid Plaintiff’s out-of-pocket expenses

for her treatment. A1105 ¶ 21.

      D. Plaintiff Notifies the Division of her Hostile Work Environment Claims

         On July 5, 2018, Plaintiff’s attorney sent Robert Coupe, then-Secretary of the Delaware

Department of Safety and Homeland Security, a letter alleging that she Plaintiff subjected to a

hostile work environment, and that the Division retaliated against her based on her sex (the “July

2018 Letter”). A0227–44. At no point prior to this letter did Plaintiff ever complain that Lt.

McColgan pushed her, or that Captain Layfield mistreated her due to her sex while she was at

Troop 4. As soon as DSP received this letter, an IA investigation was ordered. A1115. A Captain

Layfield and Lt. McColgan were unfounded. A1108-09.

         On October 23, 2018, Plaintiff filed a Charge of Discrimination (“Charge”) with the Equal

Employment Opportunity Commission (“EEOC”).9 See D.I. 8-2.

      E. Plaintiff is Separated from the Division after Medical Prognosis

         In October 2018, Plaintiff’s medical providers indicated—for the first time—that based on

her assessment, Plaintiff was not capable of performing in a full duty capacity and that the

probability for Plaintiff to return to full duty did not exist. A1105; A0297; A0301. Under DSP’s

Policy on Disability Leave/Modified Duty Assignment During Rehabilitation from Injury or


9
    The Division received notice of the Charge on November 1, 2018. D.I. 8-2 at 2.

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Illness (“Disability Leave Policy”), if medical documentation establishes that an employee has an

illness or injury that “permanently prevents the employee from performing some or all of [the]

essential functions of full-duty status, the employee shall be separated from [DSP].” A0154.

       On or around October 31, 2018, Colonel McQueen sent Plaintiff a letter notifying her that

she was being separating from her employment per Division Policy, using language provided in

DSP’s Disability Leave Policy § 2.E (the “Separation Letter”). A0305–06. At the time of her

separation, Plaintiff had 23.75 hours of paid vacation leave remaining, which she was paid out on

January 10, 2019. A0313; A1097. Although Plaintiff had ten hours of sick leave remaining, she

was not paid for her sick leave balances because employees retiring with a disability pension are

not entitled to sick day compensation or early retirement credit.

                                          ARGUMENT

       Summary judgment is appropriate where “there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “[A] factual

dispute is genuine only where ‘the evidence is such that a reasonable jury could return a verdict

for the nonmoving party.’” Carter v. Wesley, 2020 WL 838310, at *2 (D. Del. Feb. 20, 2020)

(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986)). The mere existence of a

factual dispute is insufficient to preclude summary judgment: there must be a dispute over a

material fact that would affect the outcome of a suit under the governing law. Liberty Lobby, 477

U.S. at 248. Furthermore, the “nonmoving party must ‘do more than simply show that there is

some metaphysical doubt as to the material facts.’” Carter, 2020 WL 838310, at *2 (quoting

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986)). “The non-

moving party’s failure to offer colorable or significantly probative evidence for an essential




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element on which it has the burden of proof entitles the moving party to summary judgment.”

Subh v. Wal-Mart Stores East, LP, 2009 WL 866798, at *10 (D. Del. Mar. 31, 2009).

   I.      PLAINTIFF’S CLAIM FOR HOSTILE WORK ENVIRONMENT FAILS AS A
           MATTER OF LAW (COUNT I)

           A. Plaintiff’s Hostile Work Environment Claim is Time-Barred

        Plaintiff’s Title VII claim for hostile work environment is time-barred because she failed

to file a claim with the EEOC or the Delaware Department of Labor within 300 days from the time

of any alleged discriminatory act. “A claimant bringing a charge of discrimination under Title VII

in Delaware has 300 days from the time of the alleged discriminatory act to file a complaint with

the EEOC.” Riley v. Delaware River & Bay Auth., 457 F. Supp. 2d 505, 510 (D. Del. 2006) (citing

Arasteh v. MBNA Am. Bank, N.A., 146 F. Supp. 2d 476, 490 (D. Del. 2001)). This filing

requirement is subject to equitable tolling, and one such equitable exception is the continuing

violation theory. Brandewie v. State of Delaware Dep’t of Correction, 2006 WL 3623817, at *8

(D. Del. Dec. 11, 2006) (citations omitted). Under this theory, “when at least one component act

of a hostile work environment occurred within the limitations period, courts may consider earlier

component acts that are ‘part of the same unlawful employment practice.’” Mudie v. Philadelphia

Coll. of Osteopathic Med., 2023 WL 6210754, at *3 (3d Cir. Sept. 25, 2023) (quoting Doe v. Mercy

Cath. Med. Ctr., 850 F.3d 545, 566 (3d Cir. 2017). To be part of the same unlawful employment

practice, “component acts must involve ‘similar conduct by the same individuals, suggesting a

persistent, ongoing pattern.’” Id. (citing Mercy Cath. Med. Ctr., 850 F.3d at 566).

        Plaintiff cannot establish a continuing violation since none of the alleged discriminatory

conduct occurred within the filing period.     Given that Plaintiff filed her EEOC charge of

discrimination on October 23, 2018, only acts occurring within the previous 300 days—that is on

or after December 27, 2017—may be considered by the Court. For purposes of Plaintiff’s hostile


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work environment claim,10 the only act that occurred during the filing period was Capt. Layfield’s

February Text Message, as Plaintiff went out on medical leave on February 9, 2018, and never

returned back to work.       The February Text Message, although offensive, is not facially

discriminatory based on Plaintiff’s sex, and the record does not support a reasonable inference that

the February Text Message was motivated by discrimination on the basis of sex. Davis v. City of

Newark, 285 F. App’x 899, 902 (3d Cir. 2008) (“comments that cannot be reasonably construed

as invoking any [sexual] feeling do not support Title VII liability”).

       But even if the Court finds the February Text Message does constitute sexually

discriminatory conduct, Plaintiff’s hostile work environment claim is still time-barred because the

alleged wrongful conduct of which she complains does not demonstrate a persistent, ongoing

pattern. Any acts that Plaintiff alleges constituted a hostile work environment on or after

December 27, 2017 and any acts Plaintiff alleges constituted a hostile work environment before

December 27, 2017 must involve “similar conduct by the same individuals,” such that they would

“suggest[] a persistent, ongoing pattern.” Mandel, 706 F.3d at 165. The Third Circuit has

cautioned that “[t]he reach of this doctrine is understandably narrow.” Tearpock-Martini v.

Borough of Shickshinny, 756 F.3d 232, 236 (3d Cir. 2014)); see Hamera v. Cnty. of Berks, 2006

WL 1985791, at *4 (E.D. Pa. July 11, 2006), aff’d, 248 F. App’x 422 (3d Cir. 2007) (no genuine

issue of material fact under continuing violations theory when earlier conduct was not actionable

due to a four-year gap between allegedly discriminatory conduct); see also Selvato v. SEPTA, 143

F. Supp. 3d 257, 265 (E.D. Pa. 2015), aff’d, 658 F. App’x 52 (3d Cir. 2016) (no genuine issue of




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  Plaintiff’s transfer and separation from employment constitute discrete acts that are actionable
separate from her hostile work environment claim. Mandel v. M & Q Packaging Corp., 706 F.3d
157, 165 (3d Cir.2013).

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material fact under continuing violations theory when earlier conduct was not actionable due to a

three-year gap between allegedly discriminatory conduct).

        This presents an insurmountable hurdle for Plaintiff, given the substance of her

allegations. Unlike cases where the continuing violations doctrine implicates the same individual

throughout the relevant time period, here, Plaintiff’s timely allegation has nothing to do with

MCpl. Smyk, Sgt. Dean, MCpl. Rossi, Lt. McColgan, Sgt. Mitchell, or any of the other individuals

who are the subject of Plaintiff’s untimely allegations. Instead, the February Text Message

constitutes a sporadic and isolated incident insufficient to support a continuing violation theory

that spans Plaintiff’s sixteen-year tenure with DSP. Mudie v. Philadelphia Coll. of Osteopathic

Med., 2022 WL 1607544, at *14 (E.D. Pa. May 20, 2022), aff’d, 2023 WL 6210754 (3d Cir. Sept.

25, 2023) (declining to extend the continuing violations theory on a hostile work environment

claim involving different conduct by different people in an “everything-but-the-kitchen-sink”

manner). As Plaintiff cannot establish a persistent, ongoing pattern of similar conduct by the same

individuals, the continuing violation theory cannot save her untimely claims.

           B. Plaintiff Cannot Establish Hostile Work Environment

       Even if Plaintiff’s hostile work environment claim was timely, her claim nonetheless fails.

To establish a prima facie case for hostile work environment based on gender discrimination, a

plaintiff must establish that: (1) she suffered intentional discrimination because of her sex; (2)

which was severe or pervasive; (3) detrimentally affected her; (4) would detrimentally affect a

reasonable person of the same sex in that position; and (5) respondeat superior liability.”

Crawford v. George & Lynch, Inc., 2013 WL 6504635, at *6 (D. Del. Dec. 9, 2013) (citing Weston

v. Pa., 251 F.3d 420, 425–26 (3d Cir. 2001), abrogated on other grounds by Burlington N. & Santa

Fe Ry. Co. v. White, 548 U.S. 53 (2006)).



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                   i. Plaintiff did not suffer intentional discrimination because of her sex.

       General complaints of unfair treatment in the workplace “[do] not translate into a charge

of illegal . . . discrimination.” Tyler v. Diamond State Port Corp., 2019 WL 3387791, at *6 (D.

Del. July 26, 2019), aff’d.816 F. App’x 729 (3d Cir. 2020) (citing Barber v. CSX Distrib. Serv., 68

F.3d 694, 702 (3d Cir. 1995)). Moreover, “[n]ot all workplace conduct that may be described as

harassment rises to the level of a hostile work environment.” Gresham v. State of Del. Dep’t of

Health and Social Servs., 2020 WL 228280, at *6 (D. Del. Jan. 15, 2020), aff’d sub nom. Gresham

v. Delaware Dep’t of Health & Soc. Servs., 821 F. App’x 146 (3d Cir. 2020) (citing Clegg v.

Falcon Plastics, Inc., 174 F. App’x 18, 25 (3d Cir. 2006)). Instead, a plaintiff must demonstrate

that she was subjected to “continuous and repeated acts of harassment.” Gresham, 2020 WL

228280, at *6 (citing Drinkwater v. Union Carbide Corp., 904 F.2d 853, 863 (3d Cir. 1990)).

       Plaintiff fails to provide any evidence that she was subjected to intentional discriminatory

conduct because of her gender. To prove the first element in the prima facie case, Plaintiff must

establish that her gender was a “substantial factor in the discrimination” and that “she would not

have been treated in the same way if she were a man.” Paris v. Christiana Care Visiting Nurse

Ass’n., 197 F. Supp. 2d 111, 117 (D. Del. 2002) (citing Andrews v. City of Philadelphia, 895 F.2d

1469, 1485 (3d Cir.1990)). Furthermore, “[v]erbal and physical harassment, no matter how

unpleasant and ill-willed, is simply not prohibited by Title VII if not motivated by the plaintiff’s

[gender].” Yates v. Delaware Psychiatric Ctr./Delaware Dep’t of Health & Soc. Servs., 2018 WL

4328815, at *3 (D. Del. Sept. 11, 2018). Notably absent from the record though, is sufficient

evidence demonstrating that the alleged conduct was motivated by Plaintiff’s gender.

       Indeed, by Plaintiff’s own account, both MCpl. Smyk and Sgt. Dean spoke their minds and

made inappropriate sexual comments to males and females alike. A0660 at 119:9-10; AA0664 at



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136:8–137:16; A0675 at 178:4–181:15. Plaintiff also testified that while she was assigned to CRU,

Sgt. Dean instructed her to handle certain prosecution cases because as her supervisor, he

outranked her. A0677 at 187:21–192:6. Likewise, the record is devoid of any facts demonstrating

that Lt. McColgan treated Plaintiff any differently than her male peers. Plaintiff herself testified

that Lt. McColgan’s tone in his email communication remained consistent, regardless of gender.

A0700. But “it is well-settled that difficult or stressful working conditions are not tantamount to

a hostile work environment caused by acts of discrimination.” McKinnon v. Gonzalez, 642 F. Supp.

2d 410, 422 (D.N.J. 2009) (citations omitted); see also Koschoff v. Henderson, 109 F. Supp. 2d.

332, 345-46 (E.D. Pa 2000) aff’d, 35 F. App’x 357 (3d Cir. 2002) (holding that allegedly harassing

conduct that is motivated by a bad working relationship, by a belief that the plaintiff has acted

improperly, or by personal animosity is not protected by Title VII). Accordingly, even if Lt.

McColgan raised his voice, or spoke sternly with Plaintiff, as she alleges, such behavior, though

perhaps “inappropriate . . . is not indicative of . . . gender discrimination” and therefore, Plaintiff’s

claims fail. Gresham, 2020 WL 228280, at *6 (citing Oncale v. Sundowner Offshore Services,

Inc., 523 U.S. 75, 81 (1998) (Title VII is not a “general civility code.”).

                    ii. The discrimination was neither severe nor pervasive and would not
                        detrimentally affect a reasonable female in that position.

        Nor can Plaintiff establish that any of the allegedly improper conduct was sufficiently

severe or pervasive. See Clark Cnty. Sch. Dist. v. Breeden, 532 U.S. 268, 270 (2001) (holding that

a hostile work environment is actionable only if the discrimination is so severe and pervasive that

it “alters the conditions of the victim’s employment” and creates an “abusive working

environment”).     Establishing whether an environment is sufficiently hostile or abusive to

successfully support a Title VII claim is determined by the totality of the circumstances, including

the “frequency of the conduct; its severity, and whether it is physically threatening or humiliating,


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or a mere offensive utterance; and whether it unreasonably interferes with an employee’s work

performance.”11 Breeden, 532 U.S. at 271. The environment must be objectively hostile, not

merely hostile in the plaintiff’s view. Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993). “Even

conduct that is unquestionably offensive and rude will not rise to the level required to make out a

hostile work environment claim unless it is sufficiently severe.” Boandl v. Geithner, 752 F. Supp.

2d 540, 571 (E.D. Pa. 2010); see also Taggart v. Verizon Del. LLC, 2013 WL 456406, at *6 (D.

Del. Feb. 1, 2013) (“Casual, isolated, or sporadic comments or incidents are insufficient.”).

       Plaintiff’s gender discrimination claims amount to a few isolated incidents with different

individuals for short periods of time throughout her career: MCpl. Smyk in January 2004; Sgt.

Dean in 2007–2008; MCpl Rossi in 2013; Lt. McColgan in 2017, and Captain Layfield in 2017

and one incident in 2018. None of these allegations are actionable. Hamera v. Cnty. of Berks,

2006 WL 1985791, at *6 (E.D. Pa. July 11, 2006), aff’d, 248 F. App’x 422 (3d Cir. 2007) (finding

that “comments made by various officers, infrequently, over a fourteen-year span, with both an

eight-year gap and a four-year gap in between” were not regular and pervasive); see also

Stephenson v. City of Philadelphia, 2006 WL 1804570, at *11, n.2 (E.D. Pa. Jun. 28, 2006), aff’d,

293 F. App’x 123 (3d Cir. 2008) (nine specific incidents over a period of nineteen months was not

severe or pervasive notwithstanding that they occurred “all the time”).

       Moreover, Plaintiff’s belief that her shift was short-staffed during her time at Troop 4 in

2015–2017 and that Lt. McColgan was sending her “ignorant emails” constitutes sexual

discrimination is unfounded. See City of Newark, 285 F. App’x at 903 (“[Plaintiff] cannot sustain


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   Courts employ this standard when analyzing the proof for both the second and fourth elements
of a prima facie hostile work environment claim under Title VII. See Davis v. Nat’l R.R. Passenger
Corp., 733 F.Supp.2d 474, 488 (D. Del. 2010) (applying standard when analyzing whether conduct
was severe or pervasive.); see also Reynolds v. USX Corp., 56 F. App’x 80, 82 (3d Cir. 2003)
(applying same to element requiring detrimental effect of a similarly situated reasonable person).

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a claim simply by asserting an event and then asserting it was motivated by [sexual] bias.”).

Plaintiff’s subjective perceptions fall far short of producing competent evidence that her work

environment was objectively permeated with hostility because Plaintiff is a female. See Robinson

v. Pittsburgh, 120 F.3d 1286, 1300 (3d Cir. 1997) (it is well-settled “that ‘not everything that

makes an employee unhappy’ qualifies as [a materially adverse employment action], for otherwise,

minor and even trivial employment action that ‘an irritable, chip-on-the-shoulder employee did

not like would form the basis for a discrimination suit”’) (quotations omitted). Nor can Plaintiff’s

unsupported claims that the discriminatory conduct occurred daily survive. Nitkin v. Main Line

Health, 67 F.4th 565, 571 (3d Cir. 2023) (finding no concrete evidence to support “general,

unsubstantiated allegations that the alleged conduct occurred ‘regularly’ or ‘all the time’” when

the plaintiff could not describe such instances during her deposition).

       Similarly, misconduct—particularly with respect to the alleged conduct of MCpl. Rossi

during the Governor’s Conference and Lt. McColgan during the October 26th Office

Conversation—is not “severe” under this analysis. See Davis, 733 F.Supp.2d at 488 (subjecting

an employee to a bag of fecal matter, leaving white powder on their desk, using their computer to

access an online dating site, and stealing their tools were extreme and held as “severe or pervasive

conduct”). None of the conduct complained of rises to the level of an employment practice that is

“serious and tangible enough to alter an employee’s compensation, terms, conditions, or privileges

of employment.” Storey v. Burns International Security Services, 390 F.3d 760, 764 (3d Cir. 2004)

(quoting Cardenas v. Massey, 269 F.3d 251, 263 (3d Cir. 2001)); Faragher v. City of Boca Raton,

524 U.S. 775, 788 (1998) (the standards for judging hostility are designed to assure that “the

ordinary tribulations of the workplace” are not substituted for the “extreme” conduct needed “to

amount to a change in the terms and conditions in employment”). Plaintiff’s continued success in



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receiving “Consistently Meets Expectations,” “Consistently Exceeds Expectations” and

“Consistently and Substantially Exceeds Expectations” on all performance reviews demonstrates

that the discriminatory conduct was not so severe or pervasive to unreasonably interfere with her

work performance.12 Harris, 510 U.S. at 371. As Plaintiff cannot prove the conduct complained

of was objectively severe or pervasive, her hostile work environment claim fails.

                  iii. Plaintiff cannot prove respondeat superior liability

       Plaintiff also failed to demonstrate respondeat superior liability. To establish respondeat

superior on a claim for a hostile work environment, courts employ the “aided by the agency

relation test[.]” Abramson v. William Paterson College of N.J., 260 F.3d 265, 280 (3d Cir. 2001).

“An employer is subject to vicarious liability to a victimized employee for an actionable hostile

environment created by a supervisor with immediate (or successively) higher authority over the

employee.” Id. (emphasis added) (quoting Faragher, 524, U.S. at 807 (1998)). “[A]n employer

may be directly liable for non-supervisory co-worker sexual harassment only if the employer was

negligent in failing to discover the co-worker harassment or in responding to a report of such

harassment.” Huston v. Procter & Gamble Paper Prod. Corp., 568 F.3d 100, 104-05 (3d Cir.

2009). However, a supervisor has constructive notice of a hostile work environment “when ‘an

employee provides management level personnel with enough information to raise a probability of

[ ] harassment [prohibited by Title VII] in the mind of a reasonable employer[.]’” Huston, 568

F.3d at 105 (quoting Kunin v. Sears Roebuck & Co., 175 F.3d 289, 293 (3d Cir. 1999)).

       The record demonstrates that respondeat superior liability cannot attach. Except for

Captain Layfield, Plaintiff attributes all and sexual discriminatory conduct to non-supervisory


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  The Written Reprimand Lt. DiSilvestro issued to Plaintiff is not an adverse action because it had
no impact on her employment. A0717 at 348:15–349:24. See Fields v. Am. Airlines, Inc., 2023
WL 6391689, at *16 (E.D. Pa. Sept. 29, 2023).

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employees. Moreover, there is no record evidence of any complaint Plaintiff provided to her

supervisors concerning gender discrimination to provide constructive notice.13 Accordingly, the

record does not support that management level employees were provided enough information

sufficient to “raise a probability of sexual harassment.” Huston, 568 F.3d at 105.

         Assuming arguendo that Captain Layfield created an actionable hostile work environment

based on his handling of Plaintiff’s complaints, DSP nevertheless cannot be found liable under

respondeat superior because Plaintiff did not suffer a tangible adverse employment action when

DSP took reasonable steps to redress the situation. Faragher, 524 U.S. at 807 (respondeat superior

liability may be negated when employer takes steps to correct the action and plaintiff failed to take

advantage of preventative or corrective opportunities or to avoid harm). Notably, Plaintiff did not

utilize the complaint procedure outlined in the Harassment Policy by filing reports with IA or Ms.

Davis as the EEO/AA representative. Enders/Maden v. Super Fresh, 594 F. Supp. 2d 507, 514 (D.

Del. 2009), aff’d sub nom. Enders v. Super Fresh, 346 F. App’x 829 (3d Cir. 2009) (employer not

liable when an employee failed to avail herself to the formal complaint process). Her inexcusable

delay in pursuing her claims prejudices DSP such that the doctrine of laches applies because many

of the individuals who are the subject of her claims no longer are employed by DSP, and the

incidents she complains of are not evidenced by any documents. Heath v. City of Philadelphia,

2021 WL 2661520, at *4 (E.D. Pa. June 29, 2021), aff’d, 2022 WL 4298123 (3d Cir. Sept. 19,

2022) (failure to prove excusable delay was not prejudicial to defendant does not reactivate

untimely claims). For these reasons, Plaintiff has failed to prove her hostile work environment

claim.


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   Plaintiff complained to Sgt. Hardy about MCpl. Smyk (A025), and also complained to Capt.
Layfield about Lt. McColgan. A0164–71. Nowhere in Plaintiff’s emails does Plaintiff complain
of gender discrimination. Id.

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      II.      NO DISCRIMINATION BASED ON PLAINTIFF’S 2018 TRANSFER OR
               SEPARATION (COUNTS II AND III)

            Plaintiff’s claims for gender discrimination based on her 2018 Transfer and her separation

from employment also fail. Such claims are analyzed under the McDonnell Douglas14 burden-

shifting framework. See Taylor-Bray v. Delaware Dep’t of Servs. for Child., Youth & Their Fams.,

627 F. App'x 79, 82 (3d Cir. 2015). To prove gender discrimination, Plaintiff must show that (1)

she is a member of a protected class; (2) she is qualified for the position in question; (3) she

suffered from an adverse employment action; and (4) the adverse action was under circumstances

that raise an inference of discrimination. Id. The primary focus rests on whether DSP treated

Plaintiff less favorably than other because of her gender. See Sarullo v. United States Postal Serv.,

352 F.3d 789, 798 (3d Cir.2003).

             A transfer or reassignment is actionable under Title VII if it is “serious and tangible

enough to alter an employee’s compensation, terms, conditions, or privileges of employment.”

Storey, 390 F.3d at 764 (3d Cir. 2004) (quotations omitted). Such a transfer must also constitute

“a significant change in employment status” and imposes “significantly different responsibilities.”

Burlington Indus., Inc. v. Ellerth, 524 U.S. 742 (1998). Plaintiff was one of ten other supervisors

transferred at that time and has proffered no evidence to show that her responsiblities at Troop 5

were significantly different from that of other supervisors or her previous assignment at Troop 4.

See Anderson v. Mercer Cnty. Sheriff Dep’t, 815 F. App’x 664, 667 (3d Cir. 2020) (finding that a

transfer was not an adverse action when fifteen other officers were transferred at the same time

and there was no evidence that plaintiff’s responsiblities were significantly different). Instead, the




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     McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).

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record is devoid of any evidence that the 2018 Transfer significantly change her employment status

in any way.

       Even if Plaintiff could make such a showing, she cannot rebut DSP’s legitimate, non-

discriminatory reasons for the 2018 Transfer. In accordance with the Transfer Policy provided in

the State Police manual, all uniformed employees may be transferred at any time to any location

in Delaware, at the discretion of the Superintendent. A001–02. Moreover, the record shows that

plaintiff was transferred due to operational needs, in the best interest of the Division and Plaintiff.

       Similarly, Plaintiff cannot rebut DSP’s legitimate, nondiscriminatory reason for separating

her from her employment in accordance with the Disability Policy. Plaintiff’s medical providers

indicated Plaintiff was unable to perform the requirements of a full duty officer and that the

probability for her to return to full duty did not exist. Plaintiff cannot show that this legitimate

reason was pretext for discrimination. Fuentes v. Perskie, 32 F.3d 759, 763–65 (3d Cir.1994). To

show pretext, Plaintiff “must present evidence from which a reasonable factfinder could infer that

the reason was ‘a post hoc fabrication’ or ‘did not actually motivate the employment action.’”

Martinez v. Rapidigm, Inc., 290 F. App'x 521, 525 (3d Cir. 2008) (quoting Fuentes, 32 F.3d at

764. Plaintiff has failed to do so. Instead, Plaintiff relies on speculation and conjecture to support

her claim.15     A0723.     Plaintiff proffered no evidence demonstrating any “weaknesses,

implausibilities, inconsistencies, incoherencies, or contradictions” that would allow a reasonable

finding that her separation from her employment was a pretext for gender discrimination. Id.




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  Although courts “are required to draw every reasonable inference in favor of the party opposing
summary judgment, they are not permitted to stack inference upon inference to preserve an issue
for the jury,” and “[i]nferences must be supported by facts in the record, not by “speculation or
conjecture.” In re Asbestos Litig., 2019 WL 325130, at *6 (D. Del. Jan. 25, 2019), report and
recommendation adopted sub nom. Dove v. Boeing Co., 2019 WL 529890 (D. Del. Feb. 11, 2019).


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Plaintiff cannot carry her burden of establishing her claim of gender discrimination in violation of

Title VII, and therefore her claims fail.

      III.      NO RETALIATION BASED ON PLAINTIFF’S 2018 TRANSFER OR
                SEPARATION (COUNTS VI AND V)

             Plaintiff’s claims for retaliation based on her 2018 Transfer and Separation fail for similar

reasons. To prove retaliation, Plaintiff must establish that (1) she was engaged in activity protected

by Title VII; (2) she suffered an adverse employment action subsequent to or contemporaneously

with such activity; and (3) a causal link between her participation in the protected activity and the

adverse employment action. Garnett v. Bank of Am., 243 F. Supp. 3d 499, 513 (D. Del. 2017). In

the context of a Title VII retaliation claim, an “adverse employment action” is one that is

“materially adverse” and would have “dissuaded a reasonable worker from making or supporting

a charge of discrimination.” Carter v. Midway Slots & Simulcast, 894 F. Supp. 2d 529, 541 (D.

Del. 2012). To establish causation, “[t]he protected activity must be the ‘but-for’ cause of the

defendants’ alleged retaliatory action.” Flores v. Danberg, 84 F. Supp. 3d 340, 350 (D. Del. 2015).

             First, Plaintiff cannot demonstrate that she engaged in a protected activity. Plaintiff alleges

that she “opposed practices made illegal by Title VII and the DDEA.”16 But again, the record

shows that none of Plaintiff’s alleged complaints accuse anyone of, or even reference, gender

discrimination. Accordingly, Plaintiff’s complaints cannot qualify as protected activity. See

Eldridge v. Municipality of Norristown, 2013 WL 811956, at *3 (3d Cir. Mar. 6, 2013) (finding

an email was not protected activity because “it did not allege any discrimination”); Flax v.

Delaware, 329 F. App’x 360, 364 (3d Cir. 2009) (concluding that complaint which did not

expressly mention racial discrimination was not protected activity).




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     D.I. 5 ¶ 217.

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           But even if Plaintiff’s complaints about Captain Layfield or Lt. McColgan constituted

protected activity, the record does not support that DSP took any adverse employment action

against Plaintiff for making such complaints for the reasons argued above. Moreover, Plaintiff has

produced no evidence demonstrating a “but for” causal link between the supposed adverse

employment actions and her union grievance.              It is not enough that the claimed adverse

employment actions occurred within a few months of her union grievance. See Lorah v. Tetra

Tech, Inc., 541 F. Supp. 2d 629, 636 (D. Del. 2008) (“To be ‘unusually suggestive’ of retaliatory

motive, the temporal proximity must be immediate.”); Conklin v. Warrington Twp., 2009 WL

1227950, at *3 (M.D. Pa. Apr. 30, 2009) (“[T]emporal proximity must be measured in days, rather

than in weeks or months, to suggest causation without corroborative evidence.”).

           Even if Plaintiff established a prima facie case, she cannot rebut DSP’s legitimate, non-

retaliatory reasons for her 2018 Transfer and separation from employment, so her claims fail.

     IV.      PLAINTIFF’S STATE LAW CLAIMS FAIL

           Plaintiff asserts violations of the DDEA on the same exact bases as her claims for Title VII

violations. But having elected to pursue her claims in federal court, Plaintiff cannot maintain both

the federal and state law claims. See 19 Del. C. § 714; Esaka v. Nanticoke Health Servs., Inc., 752

F. Supp. 2d 476, 481 (D. Del. 2010) (“The DDEA bars a plaintiff from simultaneously seeking

remedies for employment discrimination under both federal and state law in federal court.”);

Martinez v. Dep’t of Homeland Sec./Div. of the State Police, 2019 WL 1220305, at *1 n.1 (D. Del.

Mar. 15, 2019) (“A plaintiff . . . may not seek relief under both Title VII and the Delaware state

discrimination statute.”). Thus, Plaintiff’s DDEA claims must be dismissed.17


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  Moreover, such claims fail for the same reasons as under Title VII. See Hyland v. Smyrna Sch.
Dist., 608 F. App’x 79, 83 n.5 (3d Cir. 2015). Under 28 U.S.C. § 1367(c), this Court should not
exercise supplemental jurisdiction over state law claims where federal claims fail.

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                                      CONCLUSION

      For the foregoing reasons, DSP respectfully requests that the Court grant its Motion for

Summary Judgment and dismiss the Complaint with prejudice.


Date: November 1, 2023                            STATE OF DELAWARE
                                                  DEPARTMENT OF JUSTICE

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